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                                                                                  Cadwalader,.Wickersham & Taft LLP
·C. A._ D W A L A D E R                                                           700 Sixth Street; N.W., Washington, DC 20001
                                                                                  Tel +1 202 'a62 2200 Fax +1 202 862 2400
                                                                                  www.cadwalader.com


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       June 10,2016



       Robert A Zauzmer, Esq.
       Acting PardonAtt0rn~y
       United States Department of Justice
       145 N Street N.E.
       Roop15E.508
       Washington, D.C 20530

       Re:     Letter of Support for Petition for Executive Clemency; Jawad:Musa flkla Leroy
               Moses

       Dear Mr. Zauzmer:

               I am wrjting to support the petition of J ay;ra:p: Ml~sa, fm:merly knowh as .Leroy Moses,
       for executive clemency. In 1991, I was an Assistant United Sta'tes Attorney in fu~ South em
       District of New York, 1 and I was assigned to ML M~sa's case. J. handJed the grand jury
       investigation and prenial proceedings; took tl}e case through .trial; and represented the
       Government at the sentencing hearing in which Mr. J'.Ausa rec~ived a ·mandatory life·sentence
       under 21 U.S.C. Section 851.

               Last year, upon leaming ofthe work of the Clemency Project 2014, I as~ed an attorney
       in my office to look .up Mr. Musa's case and det~miine whether he was seeking clemency.
       Kpowing that the Sectton 85 i enhancement papers -;;vould not be fiied:,fmder to'day's:guidelines,
       Jwanted .to makesurehis case was being review~d, My coll~a!:,TUe~q~ti ckly d~~er,minedthafMr.
       Musa had filed a clemency petition and that Professor Steve Z e[dma:n an& Mr. .Jesse Levine
       were·.providing counsel in the clemency process.

                Since that time, my colleague and I have spent a significant amount oftime reviewing
       the file materials related to Mr. Musa and speaking with Professor Zeidlnan ?.ncLMr. LevinG.
       Having carefully considered Mr. Musa's petition it is my belief that it should be granted.


      l I went on to serve in numerous otheP capacities durin g my 19 years' in. the J tistice Department,
      including: line AUSA, superv.isor, Tnterim U.S. Attorney and confirmed U.S. Attorney in the l).S.
      Attomey's Office in D.C.; Director of the Executive Office for United States Attorneys; General
      Counsel and ChiefofStaffofthe FBI ; and Assistant Attorney General forNatiomil Security.



      Kenneth L. Wainstein Tel 202-862-2474   Fax +1 202 862 2400   ken_wainstein@cwt.com

                                                                                    Exhibit "A"
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     Robert A. Zauztner, Esq.
     June 10, 2016

      While it ·was appropriate that Mr. Musa was. ~9nv~cted .and sentencea as part of the
      government's effort to aggressively combat the scourge of drugs in the 1980's and 1990's, it is
      only fair that his mruidatory life sentence be reconsidered in iight of circumstaq.ces since that
    · time.

             By   ali accounts, Mr. Musa.bas l ed~ li:(e free ofviolepc:e ir)...prison,_which is consistent
     v.rith the lack of yio reB.ce in .his r~cord pri'Or to·incarcerati Ofi;. if.a·-the :extent that he pas; a· record
     of infractions jp·. ph_sbn, it la~gely reiates to the-nse:ofdmgs: l wquld. s~:bQ.llt~!lial th~s¢ (!_rug
     infractions s110Liid fi.ave limited impact..oq -your ·a:ssessment of-hi& cie~ervin@ess· for clemency
     given -tpat (1) it i~ someyvh,a t uhaei'stan4abl-e that -a: person fa'cihg the prospec_f. of life~in prisol)
     may turn to drugs· and.(2) he tutimately showed .:the.strength and chara,ct'er to rej,e.Ct drugs aiid
     stay drug-free fonhe past foury,e£lt;S~

             Mr. Musa has alscF gone lo great lengths to em:~ch arid po:')itici'il bimseli' to b~ a
    productive member of society, h9-ving taken approximately S:O cour-ses while-incarcerated? with
    tqpics. ranging froin_, bqsi h~ss nic:~ii~gement to ~panisfi to psy~hoiogy. That..consistent level pf·
    voluntary educational .acti:vity teflects a .str0ng-~desir.e fqr self-improv~nien.t, whjch bodes well
    for the. prospeds 0f a s:u~ces_sful.ttansit:i. on into;sqciety..                    .

             Finally; I was comfor:t~d to s~e· that Mi~. IY.iusa. retains a_sJrorrgfamilY'support.sy.stem 'in
    Baltimore, an.d. that.his·fam ily wb'uJa.be a criti,c_~l component of a ·compnihensiveTe-en~y plan,
    which includes familial s·uppotC, employment opportuniiies and eommunity-based integration
    efforts.

             In light of·fuese cortsideranons, I b eli'eve that MI: . ..Musa'~ petiti<?n shou~q be··granted.
    Justice has b.e.er;t.t ·done for ,;Mt 1,'4usa'·s.c4qg crime ip 1'991, ruid .he..has · mo~e than:=paid bis _debt
    to· society. M,ercy ru:id f-c'i irrjes!l ho.w di'ctate. that he be given the ..o.pport:unity to ~rejoin society
    and enjoy the balance ·ofhis Jife as a free man.                   ·

               I cppreciate the efforts you are putting into· the Pr.esident;s cleme~cy project. I al~0
    recogni-ze the difficulty of·distinguishing b~tw~en ,tho.se cas~s th~t d'eserve clemency and those
    that do not .. ·These are tough, de9isi'ons that:·bave'direct jmplicatinns foq~ublic. safety) a_nd lh~re
    is never ,any guarantee that a· particular. petiti.on W;ill. resl:llt in a $_uccessfu1 0utc9me.
    Nonetheless, based on .my knoyv.ietlge of ·Mr. Musa's original_p rosecution, my assessment of
    his conduct over fue. past Z~ years •. and m)>' experience in law enforqement, I beli eve that)iis
    petition is one that deserves demency.




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    if~ AD~'   A L A_D E      JP~




               Robert A. Zauzmer, Esq.
               Jun~ 10,2016


                      Thank you for considering my views on this important issue, and please contact me if I
               can be of any further assistance as you review Mr. Musa's petition.

                                                   Very truly yours,



                                                   Kemieth L. Waiiistein

               KLW/ajj




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